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                                                                                    FILES
                                                                             U.S.QiST^'UCT CW
                                                                                     i'STA ^IV.
                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA                      2016 HAY "5 PH 3^05
                               DUBLIN DIVISION

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                                                                               5G:D1ST. OF GA.
UNITED STATES OF AMERICA                   *
                                           ★


             V.                            *         CR 314-002-001
                                           ★


MICHAEL DERRICK GOINS                      *




                                   ORDER




      In September of 2014, Defendant Michael Derrick Goins

pled guilty to conspiracy to possess with intent to distribute

and to distribute cocaine hydrochloride, a violation of 21

U.S.C. § 846.        The Court imposed a sentence of 151 months on

May 21, 2015.        Defendant did not appeal.                Indeed, Defendant

waived his right to appeal and to file any petition for

collateral        relief    from     his       conviction      and     sentence.


Nevertheless, Defendant is poised to file a collateral motion

under 28 U.S.C. § 2255 in that he is now requesting that the

Court compel his retained defense attorneys to turn over any

case-related       documents    to   him.        (See Doc.      No.    384.)       More

particularly. Defendant seeks a copy of the indictment, plea

agreement, discovery material, and sentencing transcript.

(See id.)


      As   an     initial   matter,        the       Court   notes    that    it    has

discovered      no   authority,      nor       has    Defendant      provided      any,

authorizing a district court to compel an attorney to provide
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his    or   her       client     with     the   case      file    under    these

circumstances, especially after final judgment in the case has

been entered.         However, in liberally construing Defendant's

pro se motion, the Court interprets Defendant's motion as

requesting these items directly from the court.

       First, Defendant has not been determined to be indigent

in this case.      His trial counsel were retained, and he has not

been   granted        authority    to     proceed    in   forma     pauperis.

Accordingly, he is not entitled to copies of anything without

payment.        Second, even if indigent, it is well established

that   an   indigent          defendant    does     not   have    an    absolute

constitutional right to a free copy of his transcript or other

court records for use in a collateral proceeding. Jefferies v.

Wainwriaht. 794 F.2d 1516, 1518 (11"^^ Cir. 1986) ("Denial of

a free transcript to an indigent defendant is unconstitutional

only where the transcript is valuable to the defense and no

functional alternatives exist."); see also United States v.

MacCollom.      426    U.S.    317 (1976).        Rather,   28   U.S.C. § 753

provides that a defendant in a § 2255 proceeding may not

receive     a    free    transcript       absent     a    showing      that   the

transcripts or documents are necessary to the resolution of a

nonfrivolous claim.            Defendant does not have the right to a

free transcript simply to search for possible error.                      Colbert
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V. Beto. 439 F.2d 1130 (5'^'' Cir. 1971).^

       Here,    Defendant     does   not    have    a     pending    collateral

proceeding and thus, he cannot meet this standard.                    Moreover,

Defendant      provides      no specific     reason for obtaining             the

transcript or any other document.^            Accordingly, his motion to

receive a copy of these materials {doc. no. 384) is hereby

DENIED.       Out of courtesy, however, the Clerk is directed to

provide a copy of the docket sheet and a copy of Defendant's

plea       agreement,   which   contains     his    waiver     of    collateral

attack.

       ORDER ENTERED at Augusta, Georgia, this                      ^      day of
May, 2016.




                                  UNITED STATES/DISTRICT JUDGE




       ^    The Eleventh Circuit has adopted as binding precedent
all decisions issued by the former Fifth Circuit prior to
October 1, 1981.         See Bonner v. Citv of Prichard. 661 F.2d
1206, 1209 (ll'^^ Cir. 1981) (en banc).

       ^     The   Court's    criminal     case    file    does     not   contain
discovery documents and therefore could not be provided in any
event.
